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 7
     TOKIN CORPORATION and TOKIN AMERICA, INC.
 8

 9                      UNITED STATES DISTRICT COURT
10                    NORTHERN DISTRICT OF CALIFORNIA
11
                               SAN JOSE DIVISION
12

13   IN RE INDUCTORS ANTITRUST           Case No. 5:18-cv-00198-EJD-NC
     LITIGATION
14                                       DEFENDANT TOKIN AMERICA
                                         INC.’S CORPORATE DISCLOSURE
15                                       STATEMENT AND DISCLOSURE
                                         OF NON-PARTY INTERESTED
16                                       ENTITIES OR PERSONS
17                                       [Fed. R. Civ. P. 7.1 and Civil L.R. 3-15]
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                                              TOKIN AMERICA INC.’S CORPORATE DISCLOSURE
                                                STATEMENT & CERT. OF INTERESTED ENTITIES
                                                               CASE NO. 18-cv-00198-EJD-NC
                                                                          4850-5633-8801.v1
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 1          Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure and Civil Local Rule 3-

 2   15, Defendant TOKIN America Inc. discloses and certifies as follows:

 3          TOKIN America Inc. is a wholly-owned subsidiary of TOKIN Corporation.

 4   TOKIN Corporation is a wholly-owned subsidiary of KEMET Electronics Corporation,

 5   which is a wholly-owned subsidiary of KEMET Corporation, which is a publicly traded

 6   company.

 7          Dated: September 4, 2018.

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